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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   GEORGE GOODRITZ             : No.
                               :
                   Plaintiff,  :
          v.                   :
                               :
   WALNUT STREET THEATRE       :
   COMPANY,                    :
                   and         :
                               : COMPLAINT
   PARKWAY PARKING             :
   MANAGEMENT, LLC             :
                               :
                    Defendants :


                              PRELIMINARY STATEMENT

  George Goodritz (the “Plaintiff”), by and through his counsel, brings this lawsuit against

Walnut Street Theatre Company and Parkway Parking Management, LLC., seeking all

available relief under the Americans with Disabilities Act for the failure to comply with

the Act’s accessibility requirements. Plaintiff is seeking injunctive relief requiring the

Defendants to remove the accessibility barriers which exist at their parking facility.

The allegations contained herein are based on personal experience of the Plaintiff.
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                          I.          JURISDICTION


1. This action is brought pursuant to the Americans with Disabilities Act of 1990

   (“ADA”), 42 U.S.C. § 12101 et seq.

2. This civil controversy arises under the laws of the United States, and jurisdiction in

   conferred upon this District Court, pursuant to 28 U.S.C. §1331.


                                II.      VENUE

3. All actions complained of herein took place within the jurisdiction of the United States

   District Court for the Eastern District of Pennsylvania.

4. Venue is proper in this judicial District as provided by 28 U.S.C. §1391(b).

                               III.      PARTIES

5. Plaintiff is a 69 year-old adult male who currently resides in Montgomery County, in

   the Commonwealth of Pennsylvania.

6. Plaintiff is a disabled individual.

7. Defendant Walnut Street Theatre Company (“Defendant Walnut”) is a domestic

   corporation registered with the Pennsylvania Department of State under entity

   identification number 379060.

8. According to the Philadelphia Board of Revision of Taxes, Defendant Walnut is the

   owner of 805 Walnut Street, having a tax account number of 885768300.

9. Defendant Walnut has a business address of 825 Walnut Street, Philadelphia, PA

   19107.
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10. Defendant Parkway Parking Management, LLC (“Defendant Parkway”) is a domestic

   limited liability company registered with the Pennsylvania Department of State under

   entity identification number 4297462.

11. Defendant Parkway has a business address of 150 North Broad Street, Philadelphia,

   PA 19102.

12. Defendant Walnut and Defendant Parkway are collectively referred to herein as the

   “Defendants.”


                                  IV. STATEMENT OF FACTS

The Parking Facility

13. Defendant Walnut owns a public parking facility located at 805 Walnut Street,

   Philadelphia, Pennsylvania 19107 (the “Parking Facility”).

14. Upon information and belief, Defendant Parkway manages the Parking Facility for

   Defendant Walnut.

15. For a fee, an individual can park a vehicle in the Parking Facility at the prevailing

   market rates.

16. The Parking Facility has approximately 187 (one-hundred-eighty-seven) spaces located

   in an outdoor parking lot.

17. The Parking Facility has only 1 (one) handicap- accessible parking space. (See Exhibit

   A)

18. The Parking Facility offers self-parking, whereby a customer parks his or her vehicle

   upon entering.

19. Customers enter the Parking Facility via an entrance located on Walnut Street.
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20. The Parking Facility’s entrance has an entrance gate where the customer obtains a

    system-generated “ticket.”

21. After the ticket is generated and taken by the customer, the entrance gate raises,

    allowing the customer to drive his or her vehicle into the Parking Facility.

22. Once inside the Parking Facility, the customer must locate an empty parking space

    within the Parking Facility’s lot to park his or her vehicle.

23. After parking the vehicle, the customer gives his or her key to the Parking Facility’s

    attendant.

24. Upon information and belief, customers must leave their keys with the Parking

    Facility’s attendant so that the vehicles can be jockeyed within the lot to maximize the

    number of vehicles that can be parked.

25. Upon the conclusion of the customer’s use of the Parking Facility, the customer must

    pay at one of the kiosks located on the premises; this payment kiosk accepts payment

    for the time that the customer’s vehicle was at the Parking Facility.

26. After the customer pays at the kiosk, the customer receives the ticket to exit the Parking

    Facility which must be inserted into the appropriate place on the exit gate.

27. Prior to exiting, the customer must inform the Parking Facility’s attendant who

    retrieves the customer’s vehicle.

28. At the exit, the customer must insert the ticket into the appropriate place on the exit

    gate.

29. After the ticket is inserted at the exit gate, the exit gate is lifted and the customer is able

    to drive his or her vehicle out of the Parking Facility.
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30. The Parking Facility is not a valet-only facility; customers are able to self-park their

   vehicles.

The Plaintiff

31. The Plaintiff is a disabled individual within the meaning of the ADA.

32. The Plaintiff has difficulty walking.

33. The Plaintiff possesses a handicapped parking placard issued by the Commonwealth of

   Pennsylvania.

34. The Plaintiff’s handicapped parking placard permits him to park his vehicle in spaces

   designated as being handicap-accessible.

35. The Plaintiff’s personal vehicle is a 2016 Toyota RAV 4.

36. The Plaintiff’s handicapped placard hangs on the rear-view mirror of his vehicle.

37. The Plaintiff travels to Philadelphia frequently, and is often unable to find parking on

   the streets.

38. Plaintiff parks in a parking garage when on-street parking is not available.

39. The Plaintiff has patronized the Parking Facility.

40. The Plaintiff would patronize the Parking Facility in the future, but is currently deterred

   because of the lack of any handicap-accessible parking places.

                   THE AMERICANS WITH DISABILITIES ACT

41. Congress enacted the Americans with Disabilities Act (“ADA”) in 1990 with the

   purpose of providing “[a] clear and comprehensive national mandate for the elimination

   of discrimination against individuals with disabilities” and “[c]lear, strong, consistent,

   enforceable     standards    addressing    discrimination     against   individuals    with

   disabilities.” 42 U.S.C. § 12101(b).
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42. The ADA provides a private right of action for injunctive relief to “any person who is

   being subject to discrimination on the basis of disability.” 42 U.S.C. § 12188(a)(1).

43. Under the ADA, a disability is defined as “(A) a physical or mental impairment that

   substantially limits one or more major life activities of such individual; (B) a record of

   such an impairment; or (C) being regarded as having such an impairment.” 42 U.S.C.

   § 12102(1).

44. A “public accommodation” are private entities whose operations affect commerce. See

   42 U.S.C. § 12181(7).

45. Title III of the ADA provides that “[n]o individual shall be discriminated against on

   the basis of disability in the full and equal enjoyment of the goods, services, facilities,

   privileges, advantages, or accommodations of any place of public accommodation by

   any person who owns, leases (or leases to), or operates a place of public

   accommodation.” 42 U.S.C. § 12182.

46. “It shall be discriminatory to afford an individual or class of individuals, on the basis

   of a disability or disabilities of such individual or class, directly, or through contractual,

   licensing, or other arrangements with the opportunity to participate in or benefit from

   a good, service, facility, privilege, advantage, or accommodation that is not equal to

   that afforded to other individuals.” 42 U.S.C. § 12182(b)(1)(A)(ii).

47. In relevant part, Title III requires that the facilities of a public accommodation be

   “readily accessible to and usable by individuals with disabilities, except where an entity

   can demonstrate that it is structurally impracticable.” 42 U.S.C. § 12183(a)(1).

48. “Readily achievable” means easily accomplishable and able to be carried out without

   much difficulty or expense. 28 C.F.R. § 36.104.
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49. Places of public accommodation and commercial facilities that are newly constructed

      for occupancy beginning after January 26, 1992, must be “readily accessible to and

      usable by” individuals with disabilities. 28 C.F.R. § 36.401(a) (1).

50. Existing facilities whose construction predates January 26, 1992, must meet the lesser

      “barrier removal standard,” which requires the removal of barriers wherever it is

      “easily accomplishable and able to be done without undue burden or expense.” 28

      C.F.R. § 36.304(a).

51. Discrimination, for purposes of a public accommodation, includes “[a] failure to design

      and construct facilities for first occupancy later than 30 months after July 26, 1990, that

      are readily accessible to and usable by individuals with disabilities” except where an

      entity can demonstrate that it is structurally impracticable to meet the requirements set

      forth by the ADA. 42 U.S.C. § 12183.

52. Under the ADA, businesses or privately owned facilities that provide goods or services

      to the public have a continuing obligation to remove accessibility barriers in existing

      parking lots when it is readily achievable to do so.

53. The restriping/repainting of the parking space borders in relatively inexpensive, and

      should be readily achievable and easily accomplishable.

Accessible Parking under the ADA

54. The 1991 implementing rules and the 2010 revisions to the ADA set forth the following

      requirements for handicap-accessible parking spaces:1




1
    See https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#pgfId-1010282
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             Total Number of Parking Spaces                   Minimum Number of Required
               Provided in Parking Facility                    Accessible Parking Spaces


                             1 to 25                                            1
                            26 to 50                                            2
                            51 to 75                                            3
                           76 to 100                                            4
                          101 to 150                                            5
                          151 to 200                                            6

55. The ADA requires that handicap-accessible parking spaces be at least 96 (ninety-six)

    inches wide. See Appendix A to Part 36- Standards for Accessible Design, 28 C.F.R.

    Part 36.2

56. The width of a parking space is measured from the center of each parking line bordering

    the parking space.3 (See Exhibit B)

57. The ADA requires that there be an access isle for the handicap-accessible parking space

    that is at least 60 (sixty) inches wide. See Appendix A to Part 36- Standards for

    Accessible Design, 28 C.F.R. Part 36.4

58. The path a person with a disability takes to enter and move through a facility is called

    an "accessible route."5

59. This route, which must be at least three feet wide, must remain accessible and not be

    blocked.6




2
  See https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/ada-standards/chapter-5-general-site-and-building-elements
3
  See Id.
4
  See Id.
5
  See http://www.ada.gov/regs2010/titleII_2010/title_ii_primer.html
6
  See Id.
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60. Accessible routes must connect parking spaces to accessible entrances.7

61. “Facility” means all or any portion of buildings, structures, sites, complexes,

    equipment, rolling stock or other conveyances, roads, walks, passageways, parking

    lots, or other real or personal property, including the site where the building, property,

    structure, or equipment is located. 28 C.F.R. § 35.104.

62. ADA accessibility standards require that accessible parking spaces be located on the

    shortest accessible route from adjacent parking to the accessible entrance of the

    building.8

63. ADA Guidance Standards provide that “[a] "path of travel" includes a continuous,

    unobstructed way of pedestrian passage by means of which the altered area may be

    approached, entered, and exited, and which connects the altered area with an exterior

    approach (including sidewalks, streets, and parking areas), an entrance to the facility,

    and other parts of the facility.”9

64. “An accessible path of travel may consist of walks and sidewalks, curb ramps and other

    interior or exterior pedestrian ramps; clear floor paths through lobbies, corridors,

    rooms, and other improved areas; parking access aisles; elevators and lifts; or a

    combination of these elements.”10

65. Accessible parking spaces and the required accessible route should be located where

    individuals with disabilities do not have to cross a vehicular lane.11




7
  See https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/ada-standards/chapter-5-general-site-and-building-elements
8
  See http://www.ada.gov/adata1.pdf
9
  See https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#curbramps
10
   See Id.
11
   See Id.
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Valet Parking

66. Valet parking facilities must have passenger loading zones which provide a vehicular

     pull-up space at a minimum of 60 (sixty) inches in width and a minimum of 20 (twenty)

     feet in length. (See Exhibit C)

67. The passenger loading zone must be located on an accessible route to the entrance of

     the facility.12

68. Access aisles must adjoin an accessible route and cannot overlap the vehicular way.

Signage and the ADA

69. The ADA standards require the use of the International Symbol of Accessibility (ISA)

     to identify parking spaces which are reserved for use by individuals with disabilities.13

     (See Exhibit D)

70. The ISA must be used to identify accessible passenger loading zones.

71. Directional signage must be used at inaccessible entrances to provide directions to the

     nearest accessible route.

72. Parking space identification signs shall be 60 (sixty) inches minimum above the finish

     floor or ground surface measured to the bottom of the sign.14




12
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.6.6
13
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.1
14
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
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                                        COUNT I –

       FAILURE TO PROVIDE THE PROPER NUMBER OF HANDICAP-
                   ACCESSIBLE PARKING SPACES

73. All preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

74. The Plaintiff is a disabled individual within the meaning of the ADA.

75. The major life activity that the constitutes the Plaintiff’s disability is his difficulty

   walking distances.

76. The Plaintiff’s limitation in walking distances is substantial.

77. The United States Supreme Court recognized the term “major life activities” includes

   walking. Bragdon v. Abbott, 524 U.S. 624, 638–39 (1998).

78. The Parking Facility offers parking to the general public.

79. The Parking Facility is a public accommodation as defined by ADA.

80. The Parking Facility is subject to Title III of the ADA.

81. Defendant Walnut failed to provide more than one (1) handicap-accessible parking

   space at the Parking Facility.

82. Defendant Parkway failed to provide more than one (1) handicap-accessible parking

   space at the Parking Facility.

83. The Parking Facility’s failure to offer more than 1 (one) handicap-accessible parking

   space has created an accessibility barrier for the Plaintiff, and other similarly situated

   disabled individuals.

84. Defendant Walnut is responsible for ensuring the Parking Facility’s compliance with

   the ADA.
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85. Defendant Parkway is responsible for ensuring the Parking Facility’s compliance with

   the ADA.

86. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements by designating several of the available non-handicap-accessible spaces as

   handicap-accessible spaces.

87. Compliance with the handicap parking space requirements at the Parking Facility is

   readily achievable.

88. The Defendants’ failure to comply with the ADA has denied the Plaintiff the full and

   equal enjoyment of the parking offered by the Parking Facility.

89. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA.

WHEREFORE, Plaintiff, seeks to injunctive relief to require the Defendants to comply

with the Americans with Disabilities Act, together with costs and mandatory attorneys’

fees under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendants as the Court deems just and proper.



                                        COUNT II-

     FAILURE TO COMPLY WITH THE ACCESS REQUIRMENTS UNDER
                          THE ADA


90. All of the preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

91. The Parking Facility does not have any directional signs for the nearest accessible

   route.
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92. The Parking Facility does not have any handicap parking signs located at least 60

   (sixty) inches from the ground.

93. The Parking Facility does not have any pole-mounted handicap-accessible parking

   signs.

94. The Parking Facility has 1 (one) handicap-accessible parking space.

95. The Parking Facility does not have the required adjacent access aisles alongside its

   single handicap-accessible parking space.

96. The Parking Facility does not have any marked accessible routes.

97. The Parking Facility does not have any marked accessible passenger loading zones for

   valet service.

98. The Defendants have failed to locate its single handicap-accessible parking space near

   the shortest accessible route to exit the Parking Facility.

99. The Defendants’ failure to provide more than one (1) handicap-accessible parking

   space, accessible aisles, and marked accessibility routes has resulted in an

   accessibility barrier for the Plaintiff.

100. The Defendants can remedy their non-compliance by reallocating existing parking

   spaces and painting border lines which conform to the dimensional requirements of the

   ADA for handicap-accessible parking spaces and access aisles.

101. The Defendants’ failure to comply with the ADA handicap-accessible parking

   requirements has denied the Plaintiff the full and equal enjoyment of parking offered

   by the Parking Facility.

102. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA handicap-accessible parking requirements.
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WHEREFORE, Plaintiff, seeks to injunctive relief to require the Defendants to comply

with the Americans with Disabilities Act, together with costs and mandatory attorneys’

fees under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendants as the Court deems just and proper.




Respectfully submitted,

By: FJR5566

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Dated: May 3, 2017
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                               CERTIFICATE OF SERVICE

I, Franklin J. Rooks Jr., certify that I served Plaintiff’s Complaint via the Court’s ECF

system.



By: FJR5566

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Dated: May 3, 2017
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                                       EXHIBIT B



(Source:https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-parking#spaces)
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                                     EXHIBIT C



Source: https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/ada-standards/chapter-5-general-site-and-building-elements
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                          EXHIBIT D
